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                             UNITED STATES DISTRICT COURT
                           FOR WESTERN DISTRICT OF KENTCKY
                                     AT LOUISVILLE

                                    ELECTRONICALLY FILED

 Shanika Jackson                               )
       Plaintiff                               )
                                               )
 v.                                            )      Case No.        3:16-cv-00268-CRS
                                               )
 Service Financial Company                     )
        Defendant                              )

                                          JOINT NOTICE

        Come Plaintiff, Shanika Jackson, and Defendant, Service Financial Company, each by

 counsel, and in compliance with the Court’s May 18, 2018 Order (DE 29) hereby provide notice

 that on June 15, 2018 the parties reached a resolution of this matter. Having just reached a

 resolution as of the date of this filing, the parties are unable to tender a joint proposed Order of

 Dismissal at this time and anticipate tendering the same to the Court on or before June 29, 2018.


 /s/ James H. Lawson (by permission)                /s/ Michelle L. Duncan
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